











Opinion issued May 4, 2006











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–06–00058–CV
____________

IN RE MICHAEL KENNEDY, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Michael Kennedy filed a petition for a writ of mandamus, complaining
of Judge Don Taylor’s alleged refusal to set a trial date.


  Relator’s underlying
complaint appears to arise out of grievance proceedings at the Texas Department of
Criminal Justice.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has neither paid the required filing fees, nor filed an affidavit of
indigence that complies with Texas Rule of Appellate Procedure 20.1(b), but has
instead submitted an form “application to proceed in forma pauperis” that is designed
for use in federal, not state, court.  See Tex. R. App. P. 5 (requiring payment of fees
in civil cases); Tex. R. App. P. 20.1(a), (c)(2) (establishing indigence); see also Tex.
Gov’t Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2005) (listing fees in court
of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;There is however, a fundamental problem with this original proceeding.  We
have no jurisdiction to issue a writ of mandamus because Liberty County is not in this
Court’s court of appeals district.  See Tex. Gov’t Code Ann. § 22.201(b), 22.221(b)
(Vernon 2004 &amp; Supp. 2005).  Liberty County is in the court of appeals district for
the Ninth Court of Appeals.  Tex. Gov’t Code Ann. § 22.201(j) (Vernon Supp.
2005).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss for want of jurisdiction the petition for a writ of mandamus.
&nbsp;
PER CURIAM
Panel consists of Justices Nuchia, Keyes, and Hanks.


